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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
  IN RE: Shawn C. McGuire                   CHAPTER 13
         Debtor.
                                            BANKRUPTCY CASE NUMBER
  Nationstar Mortgage LLC as servicer for   17-14056/AMC
  HSBC Bank USA, National Association as
  Trustee for ACE Securities Corp. Home     11 U.S.C. § 362
  Equity Loan Trust, Series 2006-CW1, Asset
  Backed Pass-Through Certificates          January 30, 2018 at 11:00 am
         Movant,
  v.                                        Courtroom # 5
  Shawn C. McGuire
         Debtor,

  William C. Miller, Trustee,
        Additional Respondent.

  MOTION OF NATIONSTAR MORTGAGE LLC AS SERVICER FOR HSBC BANK
   USA, NATIONAL ASSOCIATION AS TRUSTEE FOR ACE SECURITIES CORP.
    HOME EQUITY LOAN TRUST, SERIES 2006-CW1, ASSET BACKED PASS-
 THROUGH CERTIFICATES FOR RELIEF, FROM THE AUTOMATIC STAY UNDER
                           SECTION 362 (d)

        Secured Creditor, Nationstar Mortgage LLC as servicer for HSBC Bank USA, National

 Association as Trustee for ACE Securities Corp. Home Equity Loan Trust, Series 2006-CW1,

 Asset Backed Pass-Through Certificates ("Movant"), by and through its undersigned counsel,

 pursuant to 11 U.S.C. § 362, hereby seeks relief from the automatic stay to exercise and enforce

 its rights, without limitation, with respect to certain real property. In support of this motion,

 Movant avers as follows:

        1.      Debtor named above filed a Voluntary Petition under Chapter 13 of the United
                States Bankruptcy Code in the Eastern District of Pennsylvania under the above
                case number.

        2.      Movant is the holder of a secured claim against Debtor secured only by a first
                mortgage lien on real estate which is the principal residence of Debtor located at
                26 West Roland Road, Brookhaven, PA 19015 (the "Mortgaged Premises").
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       3.       Nationstar Mortgage LLCservices the loan on the property referenced in this
                motion for relief. In the event the automatic stay in this case is modified, this case
                dismisses and/or the debtor obtains a discharge and a foreclosure action is
                commenced on the mortgaged property, the foreclosure will be conducted in the
                name of HSBC Bank USA, National Association as Trustee for ACE Securities
                Corp. Home Equity Loan Trust, Series 2006-CW1, Asset Backed Pass-Through
                Certificates.

       4.       Nationstar Mortgage LLC, directly or through an agent, has possession of the
                promissory note. The promissory note is either made payable to Noteholder or
                has been duly indorsed in blank. Noteholder is the original mortgagee, or
                beneficiary, or the assignee of the security instrument for the referenced loan.

       5.       Additional Respondent is the Standing Trustee appointed in this Chapter 13
                proceeding.

       6.       The filing of the Petition operated as an automatic stay under Section 362(a) of
                the Bankruptcy Code of proceedings to foreclose on the mortgage held by Movant
                on the Mortgaged Premises.

       7.       Debtor has not claimed an exemption in the subject property.

       8.       Debtor has failed to make post-petition monthly mortgage payments.

       9.       The defaults include the following monthly payments and charges:

       a)       Payments of $1,523.87 from November 1, 2017 through December 1, 2017 which
                totals $3,047.74;

       b)       Suspense Balance ($1,404.52);

       c)       The total amount due (9(a) through 9(b) combined) is $1,643.22

       10.      The Fair Market Value of the Property is $147,142.80, as per Debtor’s Schedules.
                The approximate amount necessary to pay off the loan is $219,757.27 good
                through December 28, 2017. The breakdown of the payoff is as follows:

            Principal Balance                                                             $164,036.64
            Accrued Interest                                                               $39,276.51
            Escrow Advances made by Plaintiff                                              $15,506.32
            Corporate Advances                                                               $2,455.00
            Suspense Balance                                                               ($1,517.20)

            Daily Per Diem                                                                      $26.96
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                 Therefore, there is little, if any, equity in the Property.

         11.     Movant's interests are being immediately and irreparably harmed. Movant is
                 entitled to relief, from the automatic stay, pursuant to either 11 U.S.C. § 362 (d)(1)
                 or (d)(2), because of the foregoing default and because:

         12.     Movant, as a holder of the first mortgage lien securing a debt owed by Debtor,
                 lacks adequate protection for its interests in the Mortgaged Premises;

         13.     Debtor does not have any equity in the Mortgaged Premises; and

         14.     The Mortgaged Premises are not necessary to an effective reorganization or plan.

         15.     Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
                 immediately implement and enforce the Court's order.

         16.     Attached are redacted copies of any documents that support the claim, such as
                 promissory notes, purchase order, invoices, itemized statements of running
                 accounts, contracts, judgments, mortgages, and security agreements in support of
                 right to seek a lift of the automatic stay and foreclose if necessary.

          WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
 relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights with
 respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
 preparation and presentation of this motion, and (iii) granting all such other and further relief as the
 Court deems appropriate and necessary. A proposed order to such effect is submitted herewith.

                                                         Respectfully submitted,



 Dated: January 5, 2018                                  BY: /s/ Kevin S. Frankel
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